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           This document has been electronically entered in the records of the United
           States Bankruptcy Court for the Southern District of Ohio.


           IT IS SO ORDERED.



        Dated: June 13, 2016



        ________________________________________________________________




                                   IN THE UNITED STATES BANKRUPTCY COURT
                                          SOUTHERN DISTRICT OF OHIO
                                               WESTERN DIVISION

IN RE:
   JOEY J. WEINGARTNER                                                                  CASE NO. 16-10813
   MELISSA L. WEINGARTNER                                                               (CHAPTER 13)
   2898 MT AIRY AVE                                                                     BETH A. BUCHANAN
   CINCINNATI, OH 45239

   a/k/a
            Debtors
   SSN(1) XXX-XX-4590
   SSN(2) XXX-XX-4986

                                ORDER OF DISMISSAL OF DEBT ADJUSTMENT PLAN

   This matter is before the Court pursuant to the Chapter 13 Trustee's Motion to Dismiss (Doc. 18) for FAILURE to
make plan payments.

    IT IS ORDERED that the Chapter 13 petition and plan of the Debtors be dismissed.

    IT IS FURTHER ORDERED that the creditors listed on the matrix of the Debtors be notified of the dismissal and
that the Trustee disburse funds in her possession pursuant to the confirmed plan, or if preconfirmation, Trustee shall
disburse funds to Debtors minus administrative costs.

    Any funds received after the order of dismissal shall be returned to the debtors.

SO ORDERED.

COPIES TO:
All Creditors and Parties in Interest
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